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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


SHARAD TAK,
derivatively on behalf of
TECHNOLOGY VENTURES, LLC,

               Plaintiff,

       v.

JITENDRA VYAS,                                              Case No. 1:21-cv-751-CMH-IDD

and

SUNDEEP DAMANI,

               Defendants,
and

TECHNOLOGY VENTURES, LLC,

               Nominal Defendant.



                                            ORDER

       THIS CAUSE comes before the Court upon Defendant Jitendra Vyas’ Unopposed Motion

to Withdraw Notice of Removal, filed June 28, 2021.

       Defendant removed this action from the Circuit Court for Fairfax County, Virginia on

June 23, 2021. (Dkt. #1). Removal jurisdiction was premised upon the Court’s diversity

jurisdiction. See 28 U.S.C. § 1332(a).

       However, removal based upon diversity jurisdiction is improper if any of the defendants

properly joined and served is a citizen of the state in which the action was brought. See 28 U.S.C.

§ 1441(b)(2). The two individual Defendants, who have been served, are citizens of Virginia.
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       Therefore, Defendant Vyas requests permission to withdraw his notice of removal and

that the case be remanded to the Circuit Court for Fairfax County, Virginia.



       Accordingly, it is therefore ORDERED AND ADJUDGED that:

       1.      Defendants’ Motion to Withdraw Notice of Removal is GRANTED.

       2.      This case is REMANDED to the Circuit Court for Fairfax County, Virginia. The

Clerk is also directed to forward a certified copy of this Order to that Court.

       3.      The Clerk is further directed to close this case.



       It is so ordered, this ______ day of _________________, 2021.




                                                       Claude M. Hilton
                                                       United States District Judge

Copies furnished to:
Counsel/Parties of Record
